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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 EVODIO GARCIA             §
     Plaintiff             §
                           §
v.                         §                         CIVIL ACTION NO. 4: 17-cv- 3010
                           §
ALLSTATE VEHICLE AND       §
PROPERTY INSURANCE COMPANY §
AND RAFAEL ANGEL MANCILLAS §
     Defendants            §


             ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’ S
                                   NOTICE OF REMOVAL



        Defendant, Allstate Vehicle and Property Insurance Company (“ Allstate” ), hereby

removes this lawsuit which is currently pending in the County Court at Law No. 3, Harris

County, Texas, Cause No. 1097326, to the United States District Court for the Southern District

of Texas, Houston Division, pursuant to 28 U.S.C. §§ 1441 and 1446, on the grounds of diversity

of citizenship and amount in controversy, and respectfully shows the Court as follows:

                                              I.
                                         BACKGROUND

1.      On August 14, 2017, Plaintiff filed his Original Petition styled Evodio Garcia v. Allstate

Vehicle and Property Insurance Company and Rafael Angel Mancillas, in the County Court at

Law No. 3, Harris County, Texas, Cause No. 1097326, in which Plaintiff made a claim for

damages to his home under a homeowner’s insurance policy. See Plaintiff’ s Original Petition ,

Exhibit A.

2.      Plaintiffs lawsuit against Allstate arises from property damage to Ills home alleged to be

caused by a storm occurring on March 29, 2017. Id.    f 11.

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3.       Plaintiff affirmatively pleads for relief of “ less than $100,000” and states that a jury will

“ ultimately determine the amount of monetary relief actually awarded.” Id. , f 66.

4.       Plaintiff served Allstate with Plaintiffs Original Petition and process on August 10,

2017, by certified mail on its registered agent. See Exhibit B.

5.       Plaintiff filed Plaintiffs Nonsuit Defendant Rafael Angel Mancillas on September 11,

2017. See Exhibit C.

6.       The State Court entered an Order on Plaintiffs Nonsuit on September 15, 2017,

nonsuiting with prejudice the claims against Rafael Angel Mancillas. See Exhibit D.

7.       Plaintiff asserts causes of action for breach of contract, violations of the Texas Insurance

Code, violations of the Texas Deceptive Trade Practices Act (“ DTPA” ) and breach of common

law duty of good faith. See Exhibit A,       29-52.

8.
                                         ^
         Defendant Allstate did not file an answer in State Court.

9.       The State Court’s Record Search including Case History for this matter is attached

herein. See Exhibit E.

                                               II.
                                      GROUNDS FOR REMOVAL

10.      This Court has original jurisdiction of this suit based on 28 U.S.C. § 1332(a) because this

suit involves a controversy between citizens of different states and there is complete diversity

between the parties at the time of the removal. Further, Defendant would show the amount in

controversy, exclusive of interest and costs exceeds $75,000.00, as evidenced by Plaintiffs

Original Petition.

      A. Parties are Diverse

11.      Plaintiff, Evodio Garcia, is a natural person who reside in Hams County, Texas. See

Exhibit A, 2. Plaintiff has not pled any other facts of his residency, intention to leave Texas, or
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domiciles in other states. Id. Accordingly, Defendant asserts that absent the same, Plaintiffs

citizenship at the time of the filing of the suit and at the time of removal is properly established

as the State of Texas. See Hollinger v. Home State Mat. Ins. Co., 654 F.3d 564, 571 (5th Cir.

2011).

12.      Defendant Allstate Vehicle and Property Insurance Company is an Illinois coiporation

with its principle place of business in Northbrook, Cook County, in the State of Illinois.

Defendant Allstate is thus a citizen of the State of Illinois.

13.      Defendant Rafael Angel Mancillas is an adjuster who has been non-suited with prejudice.

See Exhibit D. As such, at the time of removal there is complete diversity of the parties, as the

citizenship of Mancillas does not need to be considered. Accordingly, diversity of citizenship

exists among the parties.

      B. Amount in Controversy

14.      The party seeking federal jurisdiction must prove by a preponderance of the evidence that

the amount in controversy exceeds $75,000.00. Grant v. Chevron Phillips Chem. Co. L.P. , 309

F.3d 864, 868 (5th Cir. 2002). The removing party may satisfy its burden by either (1)

demonstrating that it is “ facially apparent” from the petition that the claim likely exceeds

$75,000.00, or (2) “ by setting forth the facts in controversy - preferably in the removal petition,

but sometimes by affidavit - that support a finding of the requisite amount.” Allen v. R & H Oil

& Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995). If a defendant can produce evidence that

establishes the actual amount in controversy exceeds the jurisdictional threshold, a plaintiff must

be able to show that, to a legal certainty, he will not be able to recover more than the damages for

which he has prayed in the state court complaint. See De Aguilar v. Boeing Co., 47 F.3d 1404,

1409 (5th Cir. 1995).


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        a. Plaintiff’ s Petition

15.     Here, Plaintiffs petition is facially apparent that he is seeking damages greater than

$75,000.00. Plaintiffs petition seeks to recover actual damages, mental anguish, three times

actual damages, exemplary damages, eighteen (18) percent interest per annum, compensatory

damages, and reasonable and necessary attorney’ s fees. See Exhibit A,            58-65. Plaintiffs

pleading includes a claim for relief, which states, in relevant pail:

                  ...Plaintiff is seeking monetary relief of less than $100,000, including
                  damages of any kind, penalties, costs, expenses, prejudgment interest, and
                  attorney’ s fees. A jury, however, will ultimately determine the amount of
                  monetary relief actually awarded. Plaintiff also seeks pre-judgment and
                  post-judgment interest at the highest legal rate.

                  Exhibit A, 166.

16.     While Texas Rule of Civil Procedure prohibits a plaintiff from declaring a specific

amount in controversy, it is clear that Plaintiffs pleading expressly allows for a judgment and

recovery in excess of $75,000.00. See Id. Further, Plaintiff has not pled damages below

$75,000.00 nor has he included any binding stipulation indicating he will not accept an award in

excess of $75,000.00. See Id.

        b. Plaintiff’ s Property Value

17.          Further indication of the value of the underlying claim is the value of the property in

dispute. The insured property, identified as 9346 Golden Wood Lane, Houston, Texas 77086, is

appraised by Harris County Appraisal District at $108,016 as of January 1, 2017. See Exhibit E.

18.          Taking into consideration the value of Plaintiffs property, Plaintiffs pleading seeking

monetary relief less than $100,000 and the claim for damages for breach of contract, statutory

penalties, attorney’ s fees, additional damages, and compensatory damages it is clear the amount

in controversy exceeds $75,000.00.


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                                            III.
                              REMOVAL IS PROCEDURALLY PROPER

19.     This notice of removal is timely filed within thiity (30) after service of process upon

Defendant. See 28 U.S.C. §1441(b)(1).

20.     Venue is proper in this Court under 28 U.S.C. §1441(a) because this District and Division

of this Court embraces Harris County, Texas, the place where the State Court suit was filed.

21.     Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings in the

state court action are attached herein.

22.     Pursuant to 28 U.S.C. §1446(d), Defendant will promptly provide a true and correct copy

of this Notice of Removal to Plaintiff and to the Clerk of Hams County Civil Court at Law No.

3.


                                              IV.
                                          ATTACHMENTS

23.     Pursuant to 28 U.S.C. § 1446(a), Local Rule 3 and Local Rule 81, Defendant includes

with his notice of removal the following attachments, which are incorporated herein by

reference:

               Civil Action Cover Sheet

               Exhibit A:      Plaintiffs Original Petition

               Exhibit B:      Service of Process Transmittal

               Exhibit C:      Plaintiffs Nonsuit Against Defendant Rafael Angel Mancillas

               Exhibit D:      Order on Plaintiff s Nonsuit

               Exhibit E:      State court docket sheet

               Exhibit F:      Plaintiffs Property Value with Harris County Appraisal District

               Exhibit G:      Index of matters being filed

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               Exhibit H:     List of all counsel of record


        WHEREFORE, Defendant Allstate Vehicle and Property Insurance Company requests

that the Court accept jurisdiction over this case against him for the reasons set forth above, and

grant Defendant any such other and further relief to which he may be justly entitled.


                                                     Respectfully submitted,

                                                     By: /s/ Robert E. Valdez
                                                             Robert E, Valdez
                                                             State Bar No.20428100
                                                             S.D. Tex. Bar No. 9816
                                                             revaldez@valdeztrevino.com

                                                     VALDEZ & TREVINO
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                                                     Telephone: (210) 598 8686-
                                                     Facsimile: (210) 598-8797

                                                     Attorney for Defendant Allstate Vehicle and
                                                     Property Insurance Company



                               CERTIFICATE OF SERVICE
        I hereby certify that a time and correct copy of the foregoing instrument was served on all
parties through counsel of record pursuant to the Texas Rules of Civil Procedure on October 9,
2017, in the manners prescribed below:

Matthew Zarghouni                                                         -
                                                                     via e Service
ZAR LAW FIRM
7322 Southwest Freeway, suite 1965
Houston, Texas 77074
Counsel for Plaintiff

                                                              /s/ Robert E. Valdez
                                                              Robert E. Valdez


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